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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                  )
 KURT BERRY,                                      )       CASE NO: 3:13-cv-01341-VLB
                                                  )
        Plaintiff,                                )
                                                  )
   v.                                             )
                                                  )
 BANK OF AMERICA, N.A.,                           )
                                                  )
        Defendant.                                )
                                                  )

                               STIPULATION OF DISMISSAL

WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their respective

counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action is hereby

discontinued against BANK OF AMERICA, N.A. with prejudice and without costs to any party.

 By: /s/ Joshua B. Kons                              By: /s/ William R. Dziedzic

 Joshua B. Kons, Esq.                                William R. Dziedzic, Esq.
 LAW OFFICES OF JOSHUA B. KONS, LLC                  BENDETT & MCHUGH, P.C.
 50 Albany Turnpike, Suite 4024                      160 Farmington Avenue
 Canton, CT 06019                                    Farmington, CT 06032
 T: (860) 920-5181                                   T: (860) 677-2868
 E: joshuakons@konslaw.com                           E: Wdziedzic@bmpc-law.com
 Attorney for Plaintiff                              Attorney for Defendant



_____________________________________
SO ORDERED




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                               CERTIFICATE OF SERVICE

I hereby certify that on May 30, 2014, a true and correct copy of the foregoing Stipulation of
Dismissal was served electronically by the U.S. District Court for the District of Connecticut
Electronic Document Filing System (ECF), which sent notice of such filing to the following:

William R. Dziedzic, Esq.
BENDETT & MCHUGH, P.C.
160 Farmington Avenue
Farmington, CT 06032

                                                     By /s/ Joshua B. Kons__________
                                                       Joshua B. Kons




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